       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 1 of 19




                 UNITED STATES DISTRICT COURT
              FOR THE DISTRICT COURT OF MARYLAND
                       NORTHERN DIVISION


ENGLISH HARPER,                      *
an individual,                       *
                                     *
8 Quiet Stream Court Apt C
                                     *
Timonium, MD 21093
                                     *
      PLAINTIFF,                     * Case No. 1:24-cv-00130
v.                                   *
                                     *
                                     *
COLUMBIA LAND CORP.,                 *
a corporation,
                                     *
14236 Saw Mill Court
                                     *
Phoenix, MD 21131
                                     *
                                     *
        DEFENDANT.
                                     *
                                     *



                                COMPLAINT

      Plaintiff English Harper (“Harper” or “Plaintiff”) hereby sues Defendant,

COLUMBIA LAND CORP., a corporation, (hereinafter “Defendant”) pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its




                                                                      Page 1 of 19
        Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 2 of 19



implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”) and alleges as follows:

                          PRELIMINARY STATEMENT

      1.     Though not required by the ADA, Plaintiff attempted to resolve this

matter prior to filing the present complaint but was unable to do so.

      2.     Defendant’s ADA violations create real and significant barriers to

entry for disabled persons such as Plaintiff. Pursuant to Title III of the ADA,

Plaintiff seeks declaratory and injunctive relief requiring Defendant to (1) remedy

the violations identified herein and (2) enact and adhere to a policy that ensures the

proper maintenance of the property to avoid future ADA violations.

                         JURISDICTION AND PARTIES

      3.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42

U.S.C. § 12181 et seq., based upon Defendant, COLUMBIA LAND CORP.’s,

failure to remove physical barriers to access and violations of Title III of the ADA.

      4.     Venue is properly located in the DISTRICT COURT OF

MARYLAND IN THE NORTHERN DIVISION pursuant to 28 U.S.C. § 1391(b)

because venue lies in the judicial district of the property situs or the judicial district

in which a substantial part of the events or omissions giving rise to Plaintiff’s


                                                                                Page 2 of 19
         Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 3 of 19



claims occurred. The Defendant’s property is located in and does business within

this judicial district and all events giving rise to this lawsuit occurred in this

judicial district.

       5.     Plaintiff, English Harper, is and has been at all times relevant to the

instant matter, a natural person residing in Maryland and is sui juris.

       6.     Plaintiff is an individual with disabilities as defined by the ADA.

       7.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       8.     Plaintiff uses a wheelchair for mobility purposes.

       9.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return

to a location, in part, stems from a desire to utilize ADA litigation to make his

home community more accessible for Plaintiff and others; and pledges to do

whatever is necessary to create the requisite standing to confer jurisdiction upon

this Court so an injunction can be issued correcting the numerous ADA violations

on the Subject Property, including returning to the Subject Property as soon as it is

accessible (“Advocacy Purposes”).




                                                                             Page 3 of 19
        Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 4 of 19



      10.    Defendant, COLUMBIA LAND CORP., is a corporation conducting

business in the State of Maryland and within this judicial district.




                           FACTUAL ALLEGATIONS

      11.    On or about May of 2023, Plaintiff attempted to but was deterred from

patronizing and/or gaining equal access as a disabled patron to the Shell Gas

Station located at 5651 Waterloo Rd, Ellicott City, MD 21043 (“Subject Facility”,

“Subject Property”).

      12.    COLUMBIA         LAND      CORP.     is   the   owner,    lessor,      and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the Shell Gas Station and its attendant facilities, including

vehicular parking and common exterior paths of travel within the site identified by

the Ellicott County Assessor parcel identification number 01-166611 (“Subject

Facility”, “Subject Property”).

      13.    Plaintiff lives within thirty (30) miles of the Subject Property.

Because the Subject Property is located on Waterloo Rd, a Ellicott County

thoroughfare that he frequents routinely, he is routinely where the Subject Property

is located and travels in and about the immediate area of the Subject Property

numerous times every month, if not every week.

                                                                                 Page 4 of 19
        Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 5 of 19



      14.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, COLUMBIA LAND CORP., is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property,

including those set forth in this Complaint.

      15.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property

on multiple prior occasions, and at least once before as a patron and advocate for

the disabled. Plaintiff intends on revisiting the Subject Property within six months

of the filing of this Complaint or sooner, as soon as the barriers to access detailed

in this Complaint are removed. The purpose of the revisit is to be a regular patron

to determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      16.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public




                                                                            Page 5 of 19
        Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 6 of 19



accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

       17.   Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such

harm and injury as a result of the illegal barriers to equal access present at the

Subject Property.

       18.   Plaintiff has a fundamental right as established under the ADA to

patronize any place of public accommodation as any person who is not disabled

has.

       19.   Plaintiff’s day-to-day life has been negatively affected by the barriers

to entry at the Subject Property, as his fundamental right to patronize any place of

public accommodation at his choosing has been diminished by Defendant’s non-

compliance with the ADA.

       20.   Plaintiff has no obligation to only patronize places of public

accommodation that are ADA compliant.

       21.   If barriers to entry are not removed at the Subject Property, it will

place undue hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff




                                                                            Page 6 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 7 of 19



to “search” for a place of public accommodation to patronize that is ADA

compliant.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      22.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      23.    The Subject Property is a public accommodation and service

establishment.

      24.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      25.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      26.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his
                                                                           Page 7 of 19
         Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 8 of 19



disabilities resulting from the physical barriers to access, dangerous conditions

and ADA violations that exist at the Subject Property that preclude and/or limit

his access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     28.     Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to

utilize all of the goods, services, facilities, privileges, advantages and/or

accommodations commonly offered to able-bodied patrons of the Subject

Property but will be unable to fully do so because of his disability and the physical

barriers to access, dangerous conditions and ADA violations that exist at the

Subject Property that preclude and/or limit his access to the Subject Property

and/or     the   goods,   services,   facilities,   privileges,   advantages      and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

     29.     Defendant, COLUMBIA LAND CORP., has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to

remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

                                                                               Page 8 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 9 of 19



     30.    Defendant, COLUMBIA LAND CORP., will continue to discriminate

against Plaintiff and others with disabilities unless and until COLUMBIA LAND

CORP. is compelled to remove all physical barriers that exist at the Subject

Property, including those specifically set forth herein, and make the Subject

Property accessible to and usable by Plaintiff and other persons with disabilities.

     31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of

the Subject Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                              Shell Gas Station
                                 (Exterior)
            a. The van-accessible parking space is too narrow in
               violation of Section 4.6 of the 1991 ADAAG and
               Section 502 of the 2010 ADAAG. These violations
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff
               loss of opportunity.

                                 Shell Gas Station

            b. The plaintiff could not safely utilize the parking
               facility because the designated accessible parking
               space is not level in all directions because of
               Defendant’s practice of failing to inspect and maintain
               the parking surface in violation of 28 CFR § 36.211,
                                                                            Page 9 of 19
Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 10 of 19



       Section 4.6.3 of the 1991 ADAAG and Section 502.4
       of the 2010 ADAAG. These violations made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff loss of
       opportunity.

                         Shell Gas Station

    c. The plaintiff could not safely utilize the parking
       facility because the accessible aisle is not level in all
       directions because of Defendant’s practice of failing
       to inspect and maintain the parking surface in
       violation of 28 CFR § 36.211, Section 4.6.3 of the
       1991 ADAAG and Section 502.4 of the 2010
       ADAAG. These violations made it dangerous for
       Plaintiff to utilize the parking facility at the Subject
       Property and caused Plaintiff loss of opportunity.

                         Shell Gas Station

    d. There are slope variations at the purported designated
       accessible parking space with changes in direction
       that have caused a compound cross slope in violation
       of Sections 4.5.1 and 4.6.3 of the 1991 ADAAG and
       Sections 302, 403, and 502.4 of the 2010 ADAAG.
       These violations made it dangerous for Plaintiff to
       utilize the parking facility at the Subject Property and
       caused Plaintiff loss of opportunity.

                         Shell Gas Station

    e. There are slope variations at the purported access aisle
       with changes in direction that have caused a
       compound cross slope in violation of Sections 4.5.1
       and 4.6.3 of the 1991 ADAAG and Sections 302, 403,
       and 502.4 of the 2010 ADAAG. These violations
       made it dangerous for Plaintiff to utilize the parking

                                                                    Page 10 of 19
Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 11 of 19



       facility at the Subject Property and caused Plaintiff
       loss of opportunity.

                         Shell Gas Station

    f. There are slope variations at the parking lot curb ramp
       with changes in direction that have caused a
       compound cross slope in violation of Section 4.8 of
       the 1991 ADAAG and Sections 405.3, 405.4, and
       406.1 of the 2010 ADAAG. These violations made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff loss of
       opportunity.

                         Shell Gas Station

    g. The ramp to the accessible entrance (the only means
       of access to wheelchair users) has a run that exceeds
       the maximum slope requirement (8.33%) set forth in
       Section 4.7.2 of the 1991 ADAAG and Section 406.1
       of the 2010 ADAAG. These violations made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff loss of
       opportunity.

                         Shell Gas Station

    h. The plaintiff could not safely traverse the path of
       travel from the parking area to the entry doors because
       the ramp lacks a level top landing. Violation: The
       ramp has no level landing area in violation of Section
       4.8.4 of the 1991 ADAAG and Sections 405 and 406
       of the 2010 ADAAG. These violations made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff loss of
       opportunity.


                                                                    Page 11 of 19
Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 12 of 19



                         Shell Gas Station

    i. There is no accessible route provided within the site
       from the public sidewalk that serves the Subject
       Facility. Violation: There is no accessible route
       connecting the public sidewalk serving the subject
       facility and any accessible entrance(s) in violation of
       Section 4.3.2 of the 1991 ADAAG and Section
       206.2.1 of the 2010 ADAAG. These violations made
       it dangerous for Plaintiff to utilize the parking facility
       at the Subject Property and caused Plaintiff loss of
       opportunity.

                         Shell Gas Station

    j. The accessible route along the storefront curb on the
       Subject Facility was obstructed by vehicles parked in
       spaces abutting the accessible route because no
       parking stops are provided at said parking spaces.
       This allows parked vehicle overhangs to reduce the
       width of the path of travel to less than 36 inches wide
       for more than 24 linear inches in violation of Section
       4.3 of the 1991 ADAAG and Section 403.5.1 of the
       2010 ADAAG. These violations made it dangerous
       for Plaintiff to utilize the parking facility at the
       Subject Property and caused Plaintiff loss of
       opportunity.


                   MAINTENANCE PRACTICES

    a. Defendant has a practice of failing to maintain the
       accessible features of the facility, creating barriers to
       access for the Plaintiff, as set forth herein, in violation
       of 28 CFR § 36.211. This practice prevented access to
       the plaintiff equal to that of Defendant’s able-bodied
       customers causing Plaintiff loss of opportunity.

                                                                     Page 12 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 13 of 19




            b. Defendant has a practice of failing to maintain the
               accessible elements at the Subject Facility by
               neglecting their continuing duty to review, inspect,
               and discover transient accessible elements which by
               the nature of their design or placement, frequency of
               usage, exposure to weather and/or other factors, are
               prone to shift from compliant to noncompliant so that
               said elements may be discovered and remediated.

            c. Defendant has failed and continues to fail to alter their
               inadequate maintenance practices to prevent future
               recurrence of noncompliance with dynamic accessible
               elements at the Subject Facility in violation of 28
               CFR § 36.211, the 1991 ADAAG, and the 2010
               ADAAG. These violations, as set forth hereinabove,
               made it impossible for Plaintiff to experience the
               same access to the goods, services, facilities,
               privileges, advantages and accommodations of the
               Subject Facility as Defendant’s able-bodied patrons
               and caused Plaintiff loss of opportunity.

            d. Defendant has failed to modify their discriminatory
               maintenance practices to ensure that, pursuant to their
               continuing duty under the ADA, the Subject Property
               remains readily accessible to and usable by disabled
               individuals, including Plaintiff, as set forth herein, in
               violation of 28 CFR § 36.302 and 36.211. This failure
               by Defendant prevented access to the plaintiff equal to
               that of Defendant’s able-bodied customers causing
               Plaintiff loss of opportunity.

      32.   The discriminatory violations described above are not an exhaustive

list of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

                                                                           Page 13 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 14 of 19



due to the architectural barriers encountered. A complete list of the subject

location’s ADA violations affecting the Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of

discriminatory violations through expert findings of personal observation, has

actual notice that the Defendant does not intend to comply with the ADA.

      33.   The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting their continuing duty to review,

inspect, and discover transient accessible elements which by the nature of its

design or placement, frequency of usage, exposure to weather and/or other factors,

are prone to shift from compliant to noncompliant, so that said elements are

discovered and remediated. Defendant has failed and continue to fail to alter their

inadequate maintenance practices to prevent future recurrence of noncompliance

with dynamic accessible elements at the Subject Property in violation of 28 CFR

§§ 36.202 and 36.211. These violations, as referenced hereinabove, made it

impossible for Plaintiff, as a wheelchair user, to experience the same access to the

goods, services, facilities, privileges, advantages and accommodations of the

Subject Property as Defendant’s able-bodied patrons.

      34.   Accessible elements at the Subject Property have been altered and/or

                                                                          Page 14 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 15 of 19



constructed since 2010.

      35.   The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where

the 2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and

all of the alleged violations set forth herein can be modified to comply with the

1991 ADAAG standards.

      36.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.   Each of the violations alleged herein is readily achievable to modify

to bring the Subject Property into compliance with the ADA.

      38.   Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the

straightforward nature of the necessary modifications.

      39.   To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and




                                                                         Page 15 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 16 of 19



Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      40.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by

the government pursuant to Section 44 and/or Section 190 of the IRS Code.

      41.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprive Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      42.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for their places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of

public accommodation since January 26, 1992, then Defendant is required to

ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and usable by individuals with disabilities, including people

who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were

                                                                          Page 16 of 19
        Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 17 of 19



designed and constructed for first occupancy subsequent to January 26, 1993, as

defined in 28 CFR 36.401, then the Defendant’s facilities must be readily

accessible to and useable by individuals with disabilities as defined by the ADA.

To date, Defendant has failed to comply with this mandate.

      43.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, COLUMBIA LAND CORP., is required to remove the

physical barriers, dangerous conditions and ADA violations that exist at the

Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

      44.    Plaintiff’s requested relief serves the public interest.

      45.    Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendant, COLUMBIA LAND CORP., pursuant to

42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and

equal access to the subject premises, as provided by the ADA unless the injunctive

relief requested herein is granted.

      46.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities

to make them readily accessible to, and useable by, individuals with disabilities to

the extent required by the ADA, and closing the subject facilities until the requisite

                                                                             Page 17 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 18 of 19



modifications are completed, and ordering Defendant to fulfill their continuing

duty to maintain the accessible features at the premises in the future as mandated

by 28 CFR 36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.    That the Court find Defendant, COLUMBIA LAND
            CORP., in violation of the ADA and ADAAG;

      B.    That the Court enter an Order requiring Defendant,
            COLUMBIA LAND CORP., to (i) remove the physical
            barriers to access and (ii) alter the Subject Property to
            make the Subject Property readily accessible to and
            useable by individuals with disabilities to the full extent
            required by Title III of the ADA;

      C.    That the Court enter an Order directing Defendant,
            pursuant to 28 C.F.R. §36.211, to fulfill their continuing
            duty to maintain their accessible features and equipment
            so that the facility remains accessible to and useable by
            individuals with disabilities to the full extent required by
            Title III of the ADA;

      D.    That the Court enter an Order directing Defendant to
            implement and carry out effective policies, practices, and
            procedures to maintain the accessible features and
            equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
            §36.211.

      E.    That the Court enter an Order directing Defendant to
            evaluate and neutralize their policies and procedures
            towards persons with disabilities for such reasonable time
            so as to allow them to undertake and complete corrective
            procedures;

      F.    An award of attorneys’ fees, costs (including expert
            fees), and litigation expenses pursuant to 42 U.S.C. §
            12205 and an award of monitoring fees associated with
                                                                           Page 18 of 19
       Case 1:24-cv-00130-JMC Document 1 Filed 01/12/24 Page 19 of 19



            insuring that the Defendant is in compliance with the
            ADA.

      G.    An award of interest upon the original sums of said
            award of attorneys’ fees, costs (including expert fees),
            and other expenses of suit; and

      H.    Such other relief as the Court deems just and proper,
            and/or is allowable under Title III of the Americans with
            Disabilities Act.


Dated this the 12th day of January, 2024.


                                Respectfully submitted,

                                By: __________________________
                                C. James Terry, Esq.
                                Counsel for Plaintiff
                                Bar No.: 30894
                                Telephone: 410-699-0558
                                Email: c.jamesterrylaw@gmail.com

DEFENDANT TO BE SERVED:
COLUMBIA LAND CORP.
C/O MARK A. KRUG
14236 Saw Mill Court
Phoenix, MD 21131




                                                                        Page 19 of 19
